                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                  KNOXVILLE DIVISION

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                                                                  :
  LEWIS COSBY, KENNETH R. MARTIN, as                              : No. 3:16-cv-00121
  beneficiary of the Kenneth Ray Martin Roth IRA,                 :
  and MARTIN WEAKLEY on behalf of themselves :
  and all others similarly situated,                              :
                                                                  :
                                      Plaintiffs,                 :
                                                                  :
                             v.                                   :
                                                                  :
  KPMG, LLP,                                                      :
                                                                  :
                                      Defendant.                  :
  ----------------------------------------------------------------X


                     AGREED CONFIDENTIALITY STIPULATION AND ORDER

           WHEREAS, Plaintiffs Lewis Cosby, Kenneth R. Martin, and Martin Weakley, and

  Defendant KPMG, LLP (collectively, “Parties”), by and through their undersigned respective

  counsel, have jointly stipulated to the following protective order; and

           WHEREAS, the Parties anticipate that they will make available in discovery certain

  information of a confidential nature; and

           WHEREAS, the Parties have agreed that the following restrictions shall apply to such

  information;

           IT IS THEREFORE ORDERED, pursuant to Rule 26(c) of the Federal Rules of Civil

  Procedure, that the following provisions shall govern the documents, materials, deposition

  testimony, and other things or other portions thereof (and the information contained therein)

  produced by the Parties or non-parties to this litigation (collectively “Discovery Materials”). The



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  “Litigation” means the above-captioned matter (or as the caption may be modified), and any appeal

  from, through final judgment.

           1.        Designation of “Confidential” Discovery Material

           All Discovery Materials, including initial disclosures, responses to discovery requests,

  deposition testimony and exhibits, and information derived directly therefrom or portion thereof

  produced by the Parties or non-parties, whether pursuant to subpoena, order of the Court or

  voluntarily, may be designated by any Party or other person, including non-party recipients of

  discovery requests, as “Confidential” if such Party or person believes in good faith, upon

  reasonable inquiry, that the information falls within one or more of the following categories: (a)

  information prohibited from disclosure by statute; (b) information that reveals trade secrets or

  information of a competitively sensitive nature; (c) research, technical, commercial, proprietary,

  or financial information that the Party has maintained as confidential; (d) medical information

  concerning any individual; (e) privacy interests or personal identity information; (f) business or

  personal information which is not strictly confidential but which is generally known only by a

  select group of persons or businesses; (g) computer data, computer forensic information, and

  personal electronic information which, because of the volume of data, cannot be efficiently

  reviewed on a document-by-document basis; (h) non-public information which is not likely

  relevant to any claim or defense at issue in this case, but is nevertheless being produced in order

  to avoid a discovery dispute; (i) information that the producing Party is under a duty to preserve

  as confidential under an adopted rule or professional conduct, and agreement with a third party

  regarding confidentiality, or an order or agreement settling litigation; or (j) other categories of

  information on which counsel agree, in writing, to designate “Confidential” to facilitate discovery

  and avoid disputes. Information or documents that are available to the public may not be

  designated as “Confidential” information.
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           2.        Method for Designating “Confidential” Discovery Material

           Designation of Discovery Material as “Confidential” shall be made by affixing to each

  such Discovery Material the following legend:

                    CONFIDENTIAL

                     (a)   This legend shall be affixed to each page of any document designated as

  “Confidential” but shall not obscure any part of the text. A designation shall subject the document,

  and its contents, to this Order without any further action.

                     (b)   Documents designated “Confidential” that are produced in response to

  document requests shall, to the extent reasonably practicable, be grouped in identifiable sub-sets

  of documents and labeled as such. Separate groupings of confidential documents might include,

  by way of example: financial information, personal information, internal policies and procedures,

  accounting and auditing manuals, audit work papers, training manuals and the like. Prior to making

  a production, the parties will meet and confer and attempt to reach agreement on the separate

  groupings of documents designated “Confidential.”

                     (c)   A Party or person may designate electronic native format files as

  “Confidential” as appropriate, by noting such designation in an accompanying cover letter, on the

  CD or other media device on which such files are produced, and within the metadata associated

  with the file, without need to include additional designations within each electronic native format

  file.

                     (d)   With respect to answers to interrogatories or requests for admission, each

  page of these responses containing “Confidential” information shall be so marked.

                     (e)   Any person giving deposition or hearing testimony in this Litigation

  proceeding may designate any or all of the testimony as “Confidential” on the record while the

  deposition is being taken, either personally or through counsel. Additionally, a Party may
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  designate all, or any portion of, the transcript of any deposition (or any other testimony) as

  containing “Confidential” information by notifying the opposing Party in writing, within 15

  business days of receipt of the final transcript (receipt of rough draft will not count towards the 15

  business days). All such transcripts shall provisionally be treated as “Confidential” until the later

  of the date the testimony is so designated, or 15 business days after the final transcript is received,

  unless each Party and the deponent indicates, either on the record at the conclusion of the

  deposition or in writing following the deposition, that such Party or deponent does not intend to

  designate the deposition or any portion thereof as “Confidential” information.

                     (f)   Any summary, compilation, note, or excerpt of any “Confidential”

  information, as well as any paper or electronic copy made of any “Confidential” information, shall

  be treated as “Confidential” and affixed with the legend “CONFIDENTIAL.”

           3.        Use of Discovery Material

           As to Discovery Material or portions thereof, the receiving Party shall not disclose such

  Discovery Material or portion (or the contents thereof) to others or otherwise use Discovery

  Material or portion (or the contents thereof) for any purpose other than the Litigation and in

  accordance with the terms of this Order.

           This Order has no effect upon, and shall not apply to, the Parties’ use of their own

  confidential documents for any purpose. However, if a designating Party discloses its own

  confidential document to a non-party outside of the categories articulated in subparagraph 6(b) of

  this Order, the designating party shall have seven days to notify the opposing party in writing and

  withdraw the CONFIDENTIAL designation from such document.

           4.        Disclosure of and Access to “Confidential” Discovery Material

           “Confidential” Discovery Material may be disclosed, as necessary, to:


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                     (a)   the Court and Court personnel, appellate courts, appellate court personnel

  performing judicial functions related to this case, and to the extent necessary jurors and prospective

  jurors in this Litigation as further directed by the Court;

                     (b)   court reporters, mediators, or videographers recording or transcribing

  testimony or argument in this Litigation and the employees of such persons;

                     (c)   a court of competent jurisdiction in a proceeding by a Party made in

  connection with this Litigation (e.g., a subpoena made to obtain documents for use in this

  Litigation), provided that the Party disclosing the documents designated confidential submits them

  under seal;

                     (d)   attorneys of record for a Party, and their employed secretaries, paralegals,

  legal assistants, as well as outside support services hired by such attorneys (including, but not

  limited to, contract attorneys and contract paralegals working under the direction of attorneys of

  record, copy services, document management services, and graphic services), without such persons

  signing a confidentiality agreement;

                     (e)   in-house counsel for a Party;

                     (f)   the named Parties and/or court-appointed class representatives in the

  Litigation, including a Party’s employees, officers, agents, and directors whose review of the

  information is reasonably necessary to assist in the Litigation;

                     (g)   consultants, investigators, or experts (hereinafter referred to collectively as

  “experts”), including their staff and others who are assisting experts in preparing for their

  deposition(s), retained by the parties or counsel for the parties to assist in the preparation and trial

  of the lawsuit;




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                     (h)   professional vendors to whom disclosure is reasonably necessary for the

  Litigation, including, but not limited to, outside copying vendors and outside litigation support

  vendors;

                     (i)   any person who is identified as having prepared, received, reviewed, or been

  provided access to the “Confidential” material prior to its production in the Litigation;

                     (j)   witnesses or deponents and their counsel, during the course of or, to the

  extent necessary, in preparation for depositions or testimony in the Litigation but only if counsel

  has a good faith belief that the witness or deponent has relevant information regarding the

  “Confidential” Discovery Material and the witness or deponent has executed Exhibit A;

                     (k)   Outside independent persons (i.e., persons not currently employed by,

  consulting with, or otherwise associated with any party) who are retained by a Party or its attorneys

  to provide assistance as mock jurors, focus group members, or the like, who have signed Exhibit

  A;

                     (l)   Special masters, mediators, or other third parties retained by the Parties for

  settlement purposes or resolution of discovery disputes;

                     (m)   counsel for insurance companies that may provide insurance coverage to

  any defendant for any claim asserted in the Litigation;

                     (n)   auditors for any Party, to the extent necessary to provide auditing services;

  and

                     (o)   other persons only by written consent of the producing Party or upon order

  of the Court and on such conditions as may be agreed or ordered.

           5.        Challenge to Designation of “Confidential” Discovery Material

           The designation of any Discovery Material as “Confidential” is subject to challenge by

  any Party at any time. The following procedure shall apply to any challenge:
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                     (a)   Meet and Confer. A Party challenging the designation of “Confidential”

  Discovery Material must do so in good faith and must begin the process by conferring directly

  with counsel for the designating Party. In conferring, the challenging Party must explain the basis

  for its belief that the confidentiality designation was not proper and must give the designating Party

  an opportunity to review the designating material, to reconsider the designation, and, if no change

  in designation is offered, to explain the basis for the designation. The designating Party must

  respond to the challenge within 10 business days.

                     (b)   Judicial Intervention. A Party that elects to challenge a confidentiality

  designation must follow the “Discovery Disputes” procedure in the Court’s operative Scheduling

  Order before filing and serving a motion that identifies the challenged material and sets forth in

  detail the basis for the challenge. Each such motion must be accompanied by a competent

  declaration that affirms that the movant has complied with the meet and confer requirements of

  this procedure. The burden of persuasion in any such challenge proceeding shall be on the

  designating Party. Until the Court rules on the challenge, all Parties shall continue to treat the

  Discovery Materials as “Confidential” under the terms of this Order.

           6.        Duties of Counsel to Act with Respect to This Protective Order

           Counsel for the receiving Party shall make a good-faith effort to ensure compliance with

  the provisions of this Order. In the event of new counsel and/or change in counsel, the Parties

  and/or retiring counsel shall fully instruct new counsel of their responsibilities under this Order.

  Counsel for the receiving Party agrees to notify all persons to whom “Confidential” Discovery

  Material may be disclosed pursuant to Paragraph 4 of their obligations to abide by the terms of this

  Order. It is the responsibility of counsel for the receiving Party to ensure that any person obligated

  to sign Exhibit A to this Protective Order does so prior to any disclosure. A signed copy of each


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  such agreement shall be maintained by counsel for receiving Party for the duration of the Litigation

  and provided to counsel for the producing Party within a reasonable time upon request.

           7.        Inadvertent Failure to Designate

           In the event that “Confidential” Discovery Material is produced without having been

  previously marked “CONFIDENTIAL,” the Party in receipt of that material shall, upon a written

  request from the producing Party or person, treat or preserve such Discovery Material in

  accordance with the confidentiality designation that the producing Party states should have been

  affixed to it. The producing Party must then, within 14 days of learning of the inadvertent failure

  to designate, reproduce the Discovery Material with the appropriate confidentiality designation.

  The inadvertent failure of a Party or person to designate Discovery Material as “Confidential” at

  the time of production shall not be deemed a waiver of the protections afforded by this Order,

  either as to specific information in the Discovery Material or as to any other information relating

  thereto or on the same or related subject matter. However, no Party shall be responsible to another

  for any use made of information produced hereunder and not identified or designated as

  “Confidential” prior to the date on which the producing Party notified the receiving Party of the

  inadvertent failure to designate.

           8.        Inadvertent Production of Privileged Discovery Material

           Pursuant to Rule 502 of the Federal Rules of Evidence, inadvertent production of any

  Discovery Material in the Litigation by any Party or person, that such Party or person later claims

  should have been withheld on grounds of privilege (an “Inadvertently Produced Privilege

  Document”), including, but not limited to, the work-product doctrine and the attorney-client

  privilege, will not be deemed, in itself, to waive any privilege or work-product protection either as

  to specific information in the Inadvertently Produced Privilege Document or as to any other

  information relating thereto or on the same or related subject matters. A Party or person claiming
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  privilege or other protections for an Inadvertently Produced Privilege Document may notify any

  Party that received the Inadvertently Produced Privilege Document and state the basis for

  withholding such Inadvertently Produced Privilege Document from production. After being

  notified, any receiving Party, pursuant to the terms of this Order and Fed. R. Civ. P. 26(b)(5)(B),

  must not use or disclose the Inadvertently Produced Privilege Document until the claim is resolved

  and must take reasonable steps to retrieve and recover the Inadvertently Produced Privilege

  Document if the Party disclosed it before being notified. In addition, any receiving Party must

  promptly return, sequester, or destroy the specified Inadvertently Produced Privilege Document

  and any copies it has. The producing Party must retain a copy of the Inadvertently Produced

  Privilege Document until the resolution or termination of the Litigation. After an Inadvertently

  Produced Privilege Document is returned, sequestered, or destroyed pursuant to this paragraph, a

  Party may move the Court for an order compelling production of the Inadvertently Produced

  Privilege Document, but such Party may not assert as a ground for entering such an order the mere

  fact of inadvertent production.

           9.        Filing of “Confidential” Discovery Material

           This Order does not, by itself, authorize the filing of any Discovery Material under seal.

  Any Party wishing to file Discovery Material designated as “Confidential” in connection with a

  motion, brief, or other submission to the Court must either (a) obtain the written consent of the

  producing Party to file the “Confidential” Discovery Material; or (b) comply with E.D. Tenn. L.R.

  26.2 and file a motion to seal the “Confidential” Discovery Material. As provided in E.D. Tenn.

  L.R. 26.2, documents that are the subject of a motion to seal may be temporarily placed in the

  court record under seal pending a ruling on the motion pursuant to Rule 12 of the Electronic Case

  Filing Rules and Procedures of the United States District Court for the Eastern District of

  Tennessee.
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            10.       Use of Discovery Material in Motions, Hearings, or Trial

            Nothing contained in this Order shall be construed to prejudice any Party’s right to use in

   any motion or at any hearing or trial before the Court any “Confidential” Discovery Material. The

   Party wishing to present “Confidential” Discovery Material in any motion or at any hearing or trial

   shall file a motion to seal pursuant to Paragraph 9 of this Order, or obtain the advance written

   consent of the producing Party to present such “Confidential” Discovery Material in the motion or

   hearing at issue. A Party that anticipates that another Party may present “Confidential” Discovery

   Material not under seal and without consent may also bring that issue to the Court’s and Parties’

   attention by motion or in a pretrial memorandum without disclosing the “Confidential”

   information. The Court may make such orders as are necessary to govern the use of such

   Discovery Material in a motion, at trial, or hearing.

            The “CONFIDENTIAL” legend shall be removed from any exhibits or demonstratives

   containing “Confidential” information that are shown to a jury at trial, but such removal of the

   legend from exhibits or demonstratives shall not alter the confidentiality designation of the

   Discovery Material so designated, and all Parties shall continue to treat the designated Discovery

   Materials as “Confidential” under the terms of this Order.

            11.       Use of Discovery Material in Depositions

            In the event an attorney elects to use any “Confidential” Discovery Materials during a

   deposition involving a witness for the party that produced said information, any person not

   authorized hereunder to see the “Confidential” material shall be excused from the room in which

   the deposition occurs until all such questions about the materials have been asked and answered.

            12.       Discovery Material Subpoenaed or Ordered Produced in Other Litigation

                      (a)   If a receiving Party is served with a subpoena or an order issued in other

   litigation that would compel disclosure of any Discovery Material, the receiving Party must notify
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   the designating Party, in writing, immediately, and in no event more than five court days after

   receiving the subpoena or order. Such notification must include a copy of the subpoena or court

   order.

                      (b)   The receiving Party also must immediately inform in writing the Party who

   caused the subpoena or order to issue in the other litigation that some or all of the material covered

   by the subpoena or order is the subject of this Order. In addition, the receiving Party must deliver

   a copy of this Order promptly to the Party in the other action that caused the subpoena to issue.

                      (c)   The purpose of imposing these duties is to alert the interested persons to the

   existence of this Order and to afford the designating Party in this case an opportunity to try to

   protect its Discovery Material in the court from which the subpoena or order issued. The

   designating Party shall bear the burden and the expense of seeking protection in that court, and

   nothing in these provisions should be construed as authorizing or encouraging a receiving Party in

   this Litigation to disobey a lawful directive from another court. The obligations set forth in this

   paragraph remain in effect while the Party has in its possession, custody, or control Discovery

   Material by the other Party to this case.

            13.       Inadvertent Disclosure of Discovery Material Designated as Confidential

            Should any Discovery Material designated as the “Confidential” be disclosed, through

   inadvertence or otherwise, to any person or Party not entitled to receive the information, then the

   Parties intend to have such person automatically be bound by this Order and (a) such person shall

   be informed promptly of all the provisions of this Order by the disclosing Party; (b) such person

   shall be identified immediately to the producing Party; (c) the disclosing Party shall use its best

   efforts to have such person sign Exhibit A to this Protective Order and forward a copy of the signed

   Exhibit A to the producing Party; and (d) the disclosing Party shall use its best efforts to retrieve

   and return such Discovery Material. If both Parties agree that a disclosure of “Confidential”
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   Discovery Material was inadvertent, and the disclosing Party has complied in full with this

   paragraph, the producing Party will not seek sanctions associated with the disclosure. If the

   disclosing Party claims that the disclosure of “Confidential” Discovery Material was inadvertent,

   and the producing Party disagrees, the producing Party agrees to meet and confer with the

   disclosing Party before seeking sanctions associated with the disclosure.

            14.       Productions by Non-Parties

            Any Party, in conducting discovery from non-parties in connection with the Litigation,

   shall provide any non-party from which it seeks discovery with a copy of this Order so as to inform

   each such non-party of his, her, or its rights herein. If a non-party provides discovery to any Party

   in connection with the Litigation, the provisions of this Order shall apply to such discovery as if

   such discovery were being provided by a Party. Under such circumstances, the non-party shall

   have the same rights and obligations under the Order as held by the Parties. For the avoidance of

   doubt, nonparties may designate Discovery Material as “Confidential” pursuant to Paragraphs 1

   and 2 as set forth herein.

            15.       Modification by Court

            This Order may be changed by further order of the Court, and is without prejudice to the

   rights of any Party or non-party to move for relief from any of the provisions, or to seek or agree

   to additional protection for any particular Discovery Material. Nothing in this Order shall prevent

   any Party or non-party from applying for a modification of this Protective Order to resolve issues

   that may arise, or from applying to the Court for further or additional protective orders. In the

   event of any motion to modify this Protective Order, the receiving Party shall make no disclosure

   of any Discovery Material designated as “Confidential” which are at issue in such motion, until

   the Court enters a final order on the issue concerning the proposed modification.


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            16.       Post-Litigation Handling of Discovery Materials and Documents

            Within 90 days after conclusion of this Litigation, whether by final adjudication on the

   merits, or by other means, upon the written request of the producing Party, each Party or other

   person or non-party subject to the terms of this Order, with the exception of the Court, shall be

   obligated to return, or confirm in writing that they have destroyed, all Discovery Materials that

   have been designated as “Confidential,” as well as any documents, logs, reports, or summaries

   including such information, except the attorneys may retain one copy of any such documents for

   their file, subject to restrictions pursuant to this Order, which restrictions shall remain in place

   following the conclusion of the case. Notwithstanding anything to the contrary, a receiving Party

   need not destroy or return information designated as “Confidential” residing on back-up tapes or

   other disaster recovery systems. This Protective Order shall not be interpreted in a manner that

   would violate any applicable canons of ethics or codes of professional responsibility. Nothing in

   this Protective Order shall prohibit or interfere with the ability of counsel for any Party, or of

   experts specially retained for this case, to represent any individual, corporation, or other entity

   adverse to any Party or its affiliate(s) in connection with any other matters. For the avoidance of

   doubt, experts, third-party vendors, and consultants who have received “Confidential” Discovery

   Material shall also be required to return or destroy such “Confidential” Discovery Material

   pursuant to the terms of this paragraph.

            17.       Enforcement of This Order/Jurisdiction

            This Order shall remain in full force and effect while the Litigation is pending and after the

   termination of the Litigation. During the pendency of the Litigation, each Party shall be subject

   to the jurisdiction of this Court for the purpose of enforcement of the terms of this Order. After

   termination of the Litigation, each Party stipulates to the jurisdiction of this Court for the purpose

   of enforcement of the terms of this Order.
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            18.       Efforts to Resolve Disputes

            The Parties shall negotiate in good faith to resolve any dispute relating to any alleged

   violation of this Order prior to making any motion to the Court relating to any violation or alleged

   violation of this Order. Each such motion must be accompanied by a competent declaration that

   affirms that the movant has complied with the meet and confer requirements of this procedure.

            19.       No Admissions

            Neither this Order nor the designation of or failure to challenge any material as

   “Confidential” shall be construed as an admission that such information is “Confidential,” or that

   such material, or any testimony relating to such material, would be admissible in evidence in this

   case or in any other proceeding.

            20.       Willful Violation

            Any willful violation of the terms of this Order may, in the discretion of the Court, be found

   to constitute a contempt of Court, which may result in sanctions to be fixed by the Court in its

   discretion.

            21.       Consent to Protective Order

            The signatories hereto stipulate and consent to the issuance of this Order as an Order of the

   Court. The Parties’ agreement to this Order is not based on an assessment of the confidentiality

   of any document or information. Until such time as this Order has been entered by the Court, the

   Parties agree that, upon execution by the Parties, it will be treated as though it has been “So

   Ordered.”

   IT IS SO ORDERED.

                                                    ENTER:

                                                    _____________________________
                                                    Debra C. Poplin
                                                    United States Magistrate Judge
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE
                                    KNOXVILLE DIVISION

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                                                                   :
   LEWIS COSBY, KENNETH R. MARTIN, as                              : No. 3:16-cv-00121
   beneficiary of the Kenneth Ray Martin Roth IRA,                 :
   and MARTIN WEAKLEY on behalf of themselves :
   and all others similarly situated,                              :
                                                                   :
                                       Plaintiffs,                 :
                                                                   :
                              v.                                   :
                                                                   :
   KPMG, LLP,                                                      :
                                                                   :
                                       Defendant.                  :
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                                                   EXHIBIT A

                         CONFIDENTIALITY AGREEMENT DECLARATION

            The undersigned agrees:

            I hereby attest to my understanding that documents, materials, or things designated

       “CONFIDENTIAL” are provided to me subject to a Protective Order, and that I agree to be

       bound by its terms. I also understand that my execution of this Confidentiality Agreement

       Declaration, indicating my agreement to be bound by the Protective Order, is a prerequisite

       to my review of any documents, materials, or things designated as “CONFIDENTIAL”

       pursuant to the Protective Order.

            I further agree that I shall not disclose to others, except in accordance with this Protective

       Order, any “CONFIDENTIAL” documents, materials, or things as defined therein, or any




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       information contained in such “CONFIDENTIAL” documents, materials, or things, in any

       form whatsoever, and that such “CONFIDENTIAL” documents, materials, or things, and the

       information contained therein may be used only for the purposes authorized by the Protective

       Order.

            I further agree and attest to my understanding that my obligation to honor confidentiality

       of such “CONFIDENTIAL” documents, materials, or things will continue even after this

       litigation proceeding concludes. I further agree that I will be subject to the jurisdiction of

       this Court while the litigation is pending and subject to the jurisdiction of any court or

       tribunal of appropriate jurisdiction after the termination of the litigation for the purpose of

       any proceedings relating to enforcement of the Protective Order.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

       and correct.

       Executed:

       Date: _____________________________                        By: _________________________

                                                                  ______________________________
                                                                  (Print Name)




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